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IN THE UNITED STATES DISTRICT COURT i=t.._'.__,= sr' _

 

FoR THE wEsTERN DISTRICT oF TENNESSEE `LQ
wEsTERN DIVISION USVUHZQ HH 4¢5_
UNITED sTATES OF AMERICA, ) i“§:@¢ld;¢am%a§
Plaintiff, §
vs. § CR. NO. 05#20050-Ma
LANDO TATE, §
Defendant. §

 

ORDER ON CONTINUANCE AND SPECIFYING PERIOD OF EXCLUDABLE DELAY

 

This cause came on for a suppression hearing on June 23, 2005.
At the conclusion of the hearing, defense counsel requested a
continuance of the present trial date in order to allow for
additional preparation in the case.

The Court granted the request and continued the trial date to
the rotation docket beginning August 1, 2005 at 9:30 a.m., with a
report date of Friday, July 22, 2005 at 2:00 p.m.

The period from June 23, 2005 through August 12, 2005 is
excludable under 18 U.S.C. § 3161(h)(8){B)(iv) because the
interests of justice in allowing additional time to prepare
outweigh the need for a speedy trial.

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IT IS SO ORDERED this day of June, 2005.

V/}%__`

SAMUEL H. MAYS, JR.
UNITED STATES DIS'I‘RICT JUDG

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Notice of Distribution

This notice confirms a copy of the document docketed as number 28 in
case 2:05-CR-20050 Was distributed by faX, mail, or direct printing on
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Honorable Samuel Mays
US DISTRICT COURT

